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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:92CR14
                              )
          v.                  )
                              )
MARCEL HARRIS,                )                     ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to reconsider “Writ of Error Audita Querela” (Filing No. 1009).

In the interests of consistency, the Court will grant defendant’s

motion to reconsider and reinstate the “Writ of Error Audita

Querela” to be resolved in conjunction with the similar filings

by co-defendants Johnny Ray Butler and Christopher Scott.

Accordingly,

           IT IS ORDERED:

           1) Defendant’s “Writ of Error Audita Querela” (Filing

No. 984) is reinstated.

           2) Plaintiff shall have until May 13, 2005, to file a

response to said writ.

           DATED this 20th day of April, 2005.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
